Case 2:10-cv-02350-DMC-JAD Document 9 Filed 08/05/10 Page 1 of 2 PageID: 30




                        UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


         CHAM BERS OF                                   M ARTIN LUTHER KING COURTHOUSE
      JOSEPH A. DICKSON                                        50 W ALNUT STREET
UNITED STATES M AGISTRATE JUDGE                                 NEW ARK, NJ 07101
                                                                  (973) 645-2580


                                            Date: 8/5/10



                         LETTER ORDER PURSUANT TO RULE 16

       Re:      Case Name: Ankit Patel v. Pentagroup Financial, LLC
                Civil Action No. 10-2350 (DMC)

Dear Counsel:

       A scheduling conference shall be conducted before the undersigned on 9/23/10 at 10:00 a.m.
in Courtroom 5A, Martin Luther King Courthouse Building, 50 Walnut Street, Newark, New Jersey.
See Fed. R. Civ. P. 16.1 and L.Civ.R. 16.1(a).

       Counsel are advised that the early disclosure requirements of Fed. R. Civ. P. 26 will be
enforced. Therefore, counsel shall immediately exchange the following information without a
formal discovery request:

                •      contested facts,

                •      identities of individuals likely to have knowledge of discoverable facts,

                •      documents and things in the possession of counsel or the party,

                •      identities of experts and their opinions,

                •      insurance agreements in force, and

                •      statement of the basis for any damages claimed.

       At least fourteen (14) days prior to the conference scheduled herein, counsel shall personally
meet and confer pursuant to Fed .R. Civ .P. 26(f), and shall submit a discovery plan to the
undersigned not later than 72 hours prior to the conference with the Court. The discovery plan may
include a summary of the status of settlement negotiations.

       The parties shall immediately serve interrogatories, limited to twenty-five (25) questions, and
Case 2:10-cv-02350-DMC-JAD Document 9 Filed 08/05/10 Page 2 of 2 PageID: 31




requests for production of documents (no limit).

        At the conference with the Court, all parties who are not appearing pro se must be
represented by counsel who shall have full authority to bind their client in all pretrial matters.
Clients or persons with authority over the matter shall be available by telephone. See L. Civ.R.
16.1(a).

       Counsel for plaintiff(s) shall notify any party who hereafter enters an appearance of
the above conference and forward to that party a copy of this Order.

        The parties must advise this Court immediately if this action has been settled or terminated
so that the above conference may be cancelled.

       Failure to comply with the terms herein may result in the imposition of sanctions.

       SO ORDERED.

                                               s/ Joseph A. Dickson
                                              Joseph A. Dickson
                                              United States Magistrate Judge




cc: Hon. Dennis M. Cavanaugh, USDJ




                                                   2
